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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                   :
 UNITED STATES OF AMERICA                          :
                                                   :     CASE NO.
           v.                                      :
                                                   :     VIOLATIONS:
                                                   :     40 U.S.C. § 5104(e)(2)(F)
 ZVONIMIR JURLINA,                                 :     (Act of Physical Violence on U.S. Capitol
                                                   :     Grounds)
                        Defendant.                 :



                                     INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, ZVONIMIR JURLINA

willfully and knowingly engaged in an act of physical violence in the Capitol Grounds or in any

of the Capitol Buildings.

       (Act of Physical Violence in the Capitol Grounds, in violation of Title 40, United States
       Code, Section 5104(e)(2)(F))

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar No. 481052


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